         Case 1:08-cv-00700-PEC Document 55 Filed 01/14/11 Page 1 of 1




      In The United States Court of Federal Claims
                                            No. 08-700C

                                   (Filed: January 14, 2011)
                                          __________

 JAY ANTHONY DOBYNS,

                               Plaintiff,

                        v.

 THE UNITED STATES,

                              Defendant.

                                             _________

                                              ORDER
                                             _________

        A telephonic status conference will be held in this case on Wednesday, January 19, 2011,
at 11:00 a.m. (EST). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.




                                                           s/Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
